         Exhibit U
June 23, 2015 Visitation Logs
O
a
s
I
to
I
■§.
JS
1
§
5
5
(0
1
TS
*0
I
              c>«
               I
              I
                     I
u                    'S
              SJ
                     t«
3
€                    :5
I ^ fS
                     •a
                     sc
                     •c
                     a
    H
    Z
                     1
                     ■fo
              <3E>   •5
    U                c
                     o
              O
    «s        V5
                     1
                     M
                     *5
      •              2
P   H
                     •g
J   O
    <         S"
I
    C/3
    U
    u         /S
                     1
                     re
                     *5
                     V
                     E
                     s
               'd
              *5»
                     9»
                •»
               o
               UJ
               z
               S2
               </>
               2
               uu
               li.
          g
-a
      o
     t
      ra
     •o
      c
     1
     c
     o
     I
     s
     it:
     T5
     *5
     (Q
     C
            I
            V)
            (/)
t
            ;g
u           a.
            s
3
t           I
            IS
            •o
5
'i          1
t
p
5
            *5
            s
            T3
            re
            “S
       u.
     1 I
